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    I declare under the penalty of perjury that the foregoing is true and correct to the best
of my knowledge.


                                              @@-
                                              David Gadren
                                              Special Agent
                                              Office of Inspector General
                                              United States Department of Energy

                                                  7c;~
       Subscribed and sworn before me this _L_-_l_day       of October, 2014.



                                               ~~~I
                                              CHARLES B. DAY
                                              UNITED STATES MAGISTRATE JUDGE




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